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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  EBONY CLINTON-BROWN and TODD
  BROWN
                                                CIVIL ACTION NO.: 1:21-cv-00176-WES-LDA
         Plaintiffs,

  v.

  HELENE L. HARDICK and JOHN
  HARDICK, individually and as
  TRUSTEES of the HELENE L.
  HARDICK LIVING TRUST

         Defendants.


                                STIPULATION OF DISMISSAL


        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, it is hereby

 stipulated and agreed by the undersigned parties that the above-captioned case is dismissed with

 prejudice, each party to bear its own costs and fees.




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  Respectfully submitted,                             Respectfully submitted,
  By their Attorneys,                                 By their Attorneys,
  EBONY CLINTON-BROWN AND                             HELEN L. HARDICK and JOHN
  TODD BROWN                                          HARDICK, individually and as TRUSTEES
                                                      of the HELENE L. HARDICK LIVING
                                                      TRUST

  /s/ Michael Simons                                  /s/ Daniel J. Procaccini (w/consent)
  Michael Simons, (Pro Hac Vice)                      William M. Dolan III (#4524)
  John Dupuis, (#7990)                                Daniel J. Procaccini (#8552)
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 DATED: 10/20/2021

                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2021, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s
 electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing
 through the court’s CM/ECF system.

                                                                       /s/ John Dupuis
                                                                       John Dupuis




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